ln The District Court of the United States frF!;Eb

For the Eastern District of Tennessee
800 Market Street ¢~»~ -- ¢~ h .? q
Knoxvme, Tennessee 37902 2955 FEB "Ll ‘~ ‘l|'=' @2
Clerk of the Court phone: 865-545-4228 l U`;S~;lm»gj§|h% CUURT
_ _ EASTERH"BlST. TEHN.
Jimmie D. Ross and Pamela A. Ross, individuals) , _
and all others similarly situated BY-'--»~...DEPT. cLER:<

Plaintiffsl

FEDERAL CASE NUMBER
snow do \
dord&rl\ G\lHtOfl

CHASE BANK, an enterprise
affecting interstate commerce,

AMBROSE, WlLSON, GR|MM & DURAND, an
Enterprise affecting interstate commerce,

Christopher W. Conner, an individual predicate
actor in schemes violating
federal laws providing that fraud
and extortion are malum in se
offenses,

Te|ford E. Forgety, Jr., a public officiall records
verify, aids and abets schemes of
fraud and extortion,

R-MAC DEVELOPMENT, LLC, an enterprise
affecting interstate commerce,

VVVVVVVVVVVVVVVVVVVVVVVVVVV

V

Martin l. Ravin, an individual predicate actor in
schemes violating federal laws providing
that fraud and extortion are malum in se
offensesl

VVVVV

Defendants.

 

Page 1 0f11
Case 3:05-cv-OOO75 Document 1 Filed 02/04/05 Page 1 Of 11 PagelD #: <pagelD>

Petition, complaint, and claim under authority of 18 USC 1964(a)
Subject matter jurisdictional statement

FEDERAL QUESTlON JUR|SD|CT|ON: 28 USC § 1331: The federal
district court has subject matter jurisdiction to consider this claim under authority
of 18 USC 1964(a) and by virtue of sufficient pleadings clearly articulating
violations of 18 USC 1961 & 1962. The violations are pled with particularity infra.
Furthermore, the clear face of this record shows the claims of Jimmie D. Ross
and Pamela A. Ross in harmony with Attick v. Va/eria Associates, L.P., S.D. N.Y.
1992, 835 F. Supp. 103, Avirgan v. Hull, C.A. 11 (F|a.) 1991, 932 F.2d 1572,
Yellow Bus Lines, lnc. v. Drivers, Chauffeurs & Helpers Local Union 639,
C.A.D.C. 1990, 913 F.2d 948, 286 U.S. App. D.C. 182, certiorari denied 111
S.Ct. 2839, 501 U.S. 1222, 115 L.Ed. 2d 1007l Hecht v. Commerce Clearing
House, /nc. C.A. 2 (N.Y.) 1990, 897 F.2d 21, 100 A.L.R. Fed. 655, Standard
Chlorine of Delaware, lnc. v. Sinibaldi, D.Del. 1992, 821 F. Supp. 232, Jordan v.
Herman, F.D. Pa. 1992, 792 F. Supp. 380, Nassau-Suffolk lce Cream, lnc. v.
/ntegrated Resources, /nc. S.D.N.Y. 1987, 114 F.R.D. 684, Po//etier v. Zweife/,
C.A. 11 (Ga.) 1991, 921 F.2d 1465, rehearing denied 931 F.2d 901, certiorari
denied 112 S.Ct. 167, 502 U.S. 855, 116 L.Ed. 131, Khurana v. lnnovative Heath
Care Systems, lnc. , C.A. 5 (La.) 1997, 130 F.3d 143, vacated 119 S.Ct. 442,
525 U.S. 979, 142 L.Ed. 2d 397, on remand 164 F.3d 900, ln re American Honda
Motor Co., /nc. Dea/ershi,o Re/ations Litigation, D.Md. 1996, 941 F.Supp. 528,
Red Ball /nterior Demolition Corp. v. Palmadessa, S.D.N.Y. 1995l 908 F.Supp.
1226, Protter v. Nathan's Famous Systems, lnc. E.D. N.Y. 1995, 904 F.Supp.
101, Prudentia/ lns. Co. of America v. U.S. Gypsum Co. D.N.J. 1993, 828
F.Supp. 287, and Compagnie de Reassuarance D’lle de France v. New England
Reinsurance Corp. D_ Mass. 1993, 825 F.Supp. 370.

Statement of in personam jurisdiction
CHASE BANK is an enterprise affecting interstate commerce. CHASE
BANK operates from Executive Offices 270 Park Avenue in New York, New York

Page 2 of 11
Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 2 Of 11 PagelD #: <pagelD>

10017. AMBROSE, W|LSON, GR|MM & DURAND, located at 607 Market Street
Ninth Floor, in Knoxvillel Tennessee 37901-2466 is a local facilitator of fraud and
extortion for CHASE BANK. Christopher W. Conner is a member of the
enterprise, AMBROSE, W|LSON, GR|MM & DURAND. Te|ford E. Forgetyl Jr.
aided and abetted AMBROSE, W|LSON, GR|MM & DURAND, and Christopher
W. Conner in Conner’s violations of 18 USC 1961 & 1962.
Statement of venue

Venue is appropriate in the Eastern District of Tennessee as the predicate
acts of fraud and extortion committed by Christopher W. Conner occurred in the
Eastern District of Tennessee.

Theory of the case

Christopher W. Conner is engaged in the debt collection fraud racket.
HOW THE DEBT COLLECT|ON FRAUD RACKET WORKS: AMBROSE,
W|LSON, GR|MM & DURAND is a subset of the debt collection racket, a wide-
spread, far-reaching scam composed of artists such as Christopher W. Conner,
et al. How the scam works: ln a back room of the Chicago Board of Trade,
worthless bundles of commercial paper in the form of copies of charged off debt
are sold at auction or from “debt purchasing” organizations such as Collins
Financial Services, lnc., a.k.a. sales@cfsi.net, Money World Network,
foreclosurestore.com, chargeoffclearringhouse.com, and loans@money-
finance.us. Actors such as Conner can also rely on such resources as collection
industry.com. The typical face value of the bundles often amounts to tens of
millions of dollars. The original makers of the loans including mortgagees and
credit card debt are rarely harmed because they most often have hypothecated
the loan and have risked nothing. Actors up line from such artists as AMBROSE,
W|LSON, GR|MM & DURAND then break apart the bundles and resell the
worthless commercial paper in clusters based on who the original creditor is and
what the geographic location of the origin of the individual copies. Artists such as
AMBROSE, W|LSON, GR|MM & DURAND are the actual “end user” holders in
due course although typically in the scam, artists such as AMBROSE, W|LSON,
GR|MM & DURAND invest as little as 75 cents on the hundred dollar face

Page 3 cfll
Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 3 Of 11 PagelD #: <pagelD>

amount for the worthless commercial paper, then allege they are third party debt
collectors attempting to collect for the original maker of the loan. Enterprises
such as AMBROSE, W|LSON, GR|MM & DURAND use threat, coercion,
intimidation, and deception to defraud and extort money and property from
parties such as Jimmie D. Ross and Pamela A. Ross. Whenever necessary,
scam artists such as Christopher W. Conner, subject parties such as Jimmie D.
Ross and Pamela A. Ross to sham legal proceedings where: (1) Standing to sue
in the respective state court is never proved, (2) Standing to sue as a bona fide
holder-in-due-course is never proved, (3) Corporate charter authority to make
consumer loans is never proved, (4) Corporate charter authority to sue for
damages on consumer loans is never proved, (5) Damages in fact are never
proved, and (6). Delegation of authority from enterprises such as CHASE BANK
to predicate actors such as AMBROSE, W|LSON, GR|MM & DURAND is never
proved. When defendants raise any defense whatsoever, they are forced into
submission by lawless acts of tyranny from public servants such as Te|ford E.
Forgety, Jr., who either are, or pretend to bel absolutely “clueless.” ln this instant
case, Forgety, Jr. is “on the take” receiving kickbacks and bribes from Conner, or
Forgety, Jr. lacks both the ethical and professional integrity to make decisions
affecting other people’s lives. This racket is particularly heinous in the case of
credit card contracts, which as a continuing series of offers to contract are non-
transferab|e. The scam is complete when artists such as Christopher W. Conner,
with the cooperation of bad character, bad behavior public servants like Telford
E. Forgety, Jr., defraud parties such as Jimmie D. Ross and Pamela A. Ross.

FIRST PRED|CATE ACT lN VlOLATION OF 18 USC 1961 & 1962: July
17, 2003, predicate actor, Conner, filed a fraudulent security instrument that
fraudulently claimed that Jimmie D. Ross and Pamela A. Ross were indebted to
R-MAC DEVELOPMENTl LLC in a sum in excess of twenty-two thousand
dollars. Concisely, Conner advanced a writing, which Conner knew was false,
with the intention that Jimmie D. Ross and Pamela A. Ross rely on the fraud to
Jimmie D. Ross and Pamela A. Ross’s detriment. Conner‘s fraudulent claim was

.P
Case 3:05-cv-00075 Document 1 Fi|e§g§§/€£/b% Page 4 Of 11 PagelD #: <pagelD>

urged under color of an official right. A jury shall determine that Christopher W.
Conner absolutely violated 18 USC 1961 & 1962 by the fraud and extortion,
which occurred on July 17, 2003.

SECOND PRED|CATE ACT lN VlOLATlON OF 18 USC 1961 & 1962:
October 26, 2004, predicate actor Christopher W. Conner again filed a fraudulent
security instrument that fraudulently claimed that Jimmie D. Ross and Pamela A.
Ross were indebted to CHASE BANK in a sum in excess of twenty-two thousand
dollars. Concisely, Conner advanced a writing, which Conner knew was false,
with the intention that Jimmie D. Ross and Pamela A. Ross rely on the fraud to
Jimmie D. Ross and Pamela A. Ross’s detriment Conner’s fraudulent claim was
urged under color of an official right. A jury shall determine that Christopher W.
Conner absolutely violated 18 USC 1961 & 1962 by the fraud and extortion,
which occurred on October 26, 2004.

THlRD PRED|CATE ACT lN VlOLATlON OF 18 USC 1961 & 1962:
January 13, 2005, predicate actor, Christopher W. Conner filed a fraudulent
security instrument that fraudulently claimed that Jimmie D. Ross and Pamela A.
Ross were indebted to R-lVlAC DEVELOPMENT, LLC in a sum in excess of
twenty-two thousand dollars. Concisely, Conner advanced a writing, which
Conner knew was false, with the intention that Jimmie D. Ross and Pamela A.
Ross rely on the fraud to Jimmie D. Ross and Pamela A. Ross’s detriment.
Conner’s fraudulent claim was urged under color of an official right. A jury shall
determine that Christopher W. Conner absolutely violated 18 USC 1961 & 1962
by the fraud and extortion, which occurred on January 13, 2005. ln this episode
of mischief, Conner secured Forgety, Jr.’s sworn agreement to aide and abet in
the defrauding of Jimmie D. Ross and Pamela A. Ross.

Case 3:05-cv-00075 Document 1 Fi|é)c?‘%&§OQl-tfé£l) Page 5 Of 11 PagelD #: <pagelD>

Affidavit

l, Jimmie D. Ross and Pamela A. Ross, of age and competent to testify, state as
follows based on our own personal knowledge:

1.

9.

We were contacted by Christopher W. Conner about December 30, 2002.
Conner alleged that we owed R-MAC DEVELOPMENT, LLC a large sum
of money, but in the time sincel has refused to document and verify that l
owe him, R-MAC DEVELOPMENT, LLC, CHASE BANK, or AMBROSE,
W|LSON, GR|MM & DURAND money.

On May 28, 2003 Martin l. Ravin, General Manager of R-MAC
DEVELOPMENT, LLC, falsely created a Sworn Account over a notary
signature and seal, that we owed R-MAC DEVELOPMENT, LLC over
twenty-two thousand dollars. The document also referenced a CHASE
BANK alleged client account number without indicating CHASE BANK by
name_

July 18, 2003 Christopher W. Conner filed the Complaint On Sworn
Account in Chancery Court for Sevier County, Tennessee.

July 22, 2003, Christopher W. Conner falsely alleged by way of summons
that R-MAC DEVELOPMENT, LLC had a claim against us and had
authority to sue in Tennessee courts. Ravin’s Sworn Account document
was attached.

October 26, 2004, Christopher W. Conner falsely alleged that although he
was attorney of record for R-MAC DEVELOPMENT, LLC, he made it clear
that this was in reference to a CHASE BANK credit card account.

On December 3, 2004, Christopher W. Conner falsely alleged that a party
who had no personal knowledge of the business records of CHASE BANK
could testify competently about CHASE BANK’S records.

On December 15, 2004 a trial date was scheduled for MARCH 10, 2005.
On January 13, 2005 Conner and Forgety, Jr. conducted an ex parte
hearing without notifying the defendants. Conner and Forgety, Jr.
prepared and submitted a false document, committing felony crimes of
fraud, extortion and mail fraud according to 18 USC 1961, 1962 and 1341.
January 13, 2005, Christopher W. Conner secured agreement from
Te|ford E. Forgety, Jr. that Forgety, Jr. would help Conner defraud me.

10.As a result of the harassment of Conner and Conner’s repeated attempts

to extort money and property from me and because of Conner’s
dissemination of false information about my finances, | have been
deprived of business ortunities and been damaged in my business
enterprises.

/E/W)/)/i/w A94Q/M/

Jim ieD. Ross

MM

`Pamela A. Ross

Page 6 of 6

Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 6 of 11 PagelD #: <pagelD>

STATE OF TENNESSEE lNDlVlDUAL ACKNOWLEDGl\/|ENT

COUNTY OF SEVlER

Before me, the undersigned, a Notary Public in and for said County and
State on this _£§_ day o;%¢ff, 2005, personally appeared Jimmie D. Ross
and Pamela A. Ross to known to be the identical persons who executed the
within and foregoing instrument and acknowledged to me that they executed the
same as his free and voluntary act.

Given under my hand and seal the day and year last above written.
le commission expires 3 ?~ 900§ SEAL

Notary Public

 

Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 7 of 11 PagelD #: <pagelD>
Page 7 of 11

Plaintiffs’ RlCO case statement detailing the racketeering enterprise,
the predicate acts of racketeering, and the economic purpose

AMBROSE, W|LSON, GR|MM & DURANDl is running a racket by taking
money and property from parties situated similarly to Jimmie D. Ross and
Pamela A. Ross to satisfy nonexistent “debts." This court shall notice that
Jimmie D. Ross and Pamela A. Ross, in this complaintl have testified of injury to
property and business by reason of acts, which violate section 4 of the Clayton
Act. See Attick v. Valeria Associates, L.P., S.D. N.Y. 1992, 835 F. Supp. 103.
Jimmie D. Ross and Pamela A. Ross have articulated violations of racketeering
laws, testified that the violations injured both business and property warranting
treble damages. See Avirgan v. Hull, C.A. 11 (F|a.) 1991, 932 F.2d 1572. ln
naming AMBROSE, W|LSON, GR|MM & DURAND, an enterprise to which
Christopher W. Conner belongs, Jimmie D. Ross and Pamela A. Ross have
established that an enterprise exists which undeniably affects interstate
commerce. See Ye/low Bus Lines, lnc. v. Drivers, Chauffeurs & Helpers Local
Union 639, C.A.D.C. 1990, 913 F.2d 948, 286 U.S. App. D.C. 182, certiorari
denied 111 S.Ct. 2839, 501 U.S. 1222, 115 L.Ed. 2d 1007. Jimmie D. Ross and
Pamela A. Ross. have standing to sue under RlCO as Jimmie D. Ross and
Pamela A. Ross have shown violations of RlCO, injury to business and property,
and causation of the injury by the violations. See Hecht v. Commerce Clearing
House, lnc. C.A. 2 (N.Y.) 1990, 897 F.2d 21, 100 A.L.R. Fed. 655. Jimmie D.
Ross and Pamela A. Ross have perfected a RlCO claim by showing the
existence of a RlCO enterprise, showing a pattern of racketeering activity: fraud,
shown nexus between the defendants and the pattern of frauds, and shown
resulting injury to business and property. See Standard Chlorine of Delaware,
lnc. v. Sinibaldi, D.Del. 1992, 821 F. Supp. 232. Jimmie D. Ross and Pamela A.
Ross have demonstrated that Jimmie D. Ross and Pamela A. Ross sustained
injury as proximate result of the pattern of frauds by the defendants. See Jordan
v. Herman, F.D. Pa. 1992, 792 F. Supp. 380. Christopher W. Conner’s
membership in the enterprise, AMBROSE, W|LSON, GR|MM & DURAND,

Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 8 of 11 PagelD #: <pagelD>
Page 8 ofll

empowers Conner to do illicit business benefiting AMBROSE, W|LSON, GR|MM
& DURAND, directly and indirectly. AMBROSE, W|LSON, GR|MM & DURAND is
able to recoup and profit by CHASE BANK, investment affecting interstate
commerce, See Nassau-Suffo/k lce Cream, lnc. v. lntegrated Resources, lnc.
S.D.N.Y. 1987, 114 F.R.D. 684. Jimmie D. Ross and Pamela A. Ross clearly
articulated being Conner’s target of extortion and resulting business loses. See
Pol/etier v. Zweifel, C.A. 11 (Ga.) 1991l 921 F.2d 1465, rehearing denied 931
F.2d 901, certiorari denied 112 S.Ct. 167, 502 U.S. 855, 116 L.Ed. 131. The
cause-in-fact that but for the chicanery of the enterprise member, Christopher W.
Conner, Jimmie D. Ross and Pamela A. Ross would have their money and their
business would not have incurred tangible losses is sufficient to state factual
causation for provision of RlCO act providing for treble damages. See Khurana
v. /nnovative Heath Care Systems, lnc. , C.A. 5 (La.) 1997, 130 F.3d 143,
vacated 119 S.Ct. 442, 525 U.S. 979, 142 L.Ed. 2d 397, on remand 164 F.3d
900. Jimmie D. Ross and Pamela A. Ross’s reliance on traditional principles of
proximate causation applying to RlCG cases is illustrated in the well pleaded,
testimony that Jimmie D. Ross and Pamela A. Ross were the target of extortion
and their business interfered with by predicate acts of the defendants See ln re
American Honda Motor Co., lnc. Dea/ership Relations Litigation, D.Md. 1996,
941 F.Supp. 528. There exists an undeniable relationship between the acts of the
defendants and the damage to property and business interests of Jimmie D.
Ross and Pamela A. Ross. See Red Bal/ lnterior Demo/ition Corp. v.
Palmadessa, S.D.N.Y.1995, 908 F. Supp. 1226. The damage caused by the
defendants was the natural and reasonably foreseeable consequence of the
frauds promulgated by the defendants. See Protter v. Nathan’s Famous
Systems, lnc. E.D. N.Y. 1995, 904 F.Supp. 101. The fraud by the defendants
was the legal cause of Jimmie D. Ross and Pamela A. Ross being the target of
extortion, their business interests being interfered with, and related damages.
See Prudentia/ lns. Co. of America v. U.S. Gypsum Co. D.N.J. 1993, 828 F.
Supp. 287. The enterprise, CHASE BANK is evident to a high degree and it is
also evident to a high degree that associates such as Christopher W. Conner act

Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 9 of 11 PagelD #: <pagelD>
\ Page 9 ofll

as a continuing unit. See Compagnie de Reassuarance D'Ile de France v. New
England Reinsurance Corp. D. Mass. 1993, 825 F. Supp. 370. lt is undeniable
that AMBROSE, W|LSON, GR|MM & DURAND receives money for defrauding
parties such as Jimmie D. Ross and Pamela A. Ross. AMBROSE, W|LSON,
GR|MM & DURAND receipts and compensation to collateral enterprises,
represents their necessary investment in the class of business to which
AMBROSE, W|LSON, GR|MM & DURAND belongs for the continuing privilege
of, in the vernacular, continuing to rip people off in phonyl sham proceedings
See Grand Cent. Sanitation, lnc. v. First Nat. Bank of Palmerton, M.D.Pa. 1992,
816 F.Supp. 299. Undeniably, the defendants have used the courts for purposes
of fraud and extortion. Conner’s pattern of attacks on Jimmie D. Ross and
Pamela A. Ross is but one of many of examples of fraud by AMBROSE,
W|LSON, GR|MM & DURAND and other enterprises similarly constituted.

Remedy sought and prayer for relief

The Federal District Court has a duty to order the dissolution of CHASE
BANK and AMBROSE, W|LSON, GR|MM & DURAND under authority of 18 USC
1964(a), The Federal District Court is empowered to order treble damages as
remedial to the racketeering activities of “RlCO” enterprises and their constituent
members. Ajury’s determination that AMBROSE, W|LSON, GR|MM & DURAND
by and through Christopher W. Conner and Te|ford E. Forgety, Jr. has engaged
in a pattern of frauds rising to a level of racketeering requires this court’s order to
CHASE BANK and AMBROSE, W|LSON, GR|MM & DURAND to dissolve and
cease operations. A jury’s determination that AMBROSE, W|LSON, GR|MM &
DURAND, by and through Christopher W. Conner and Te|ford E. Forgety, Jr.,
committed or aided and abetted two or more predicate acts of fraud resulting in
defrauding Jimmie D. Ross and Pamela A. Ross and others similarly situated of
property and business interests justly requires ordering CHASE BANK,
AMBROSE, W|LSON, GR|MM & DURAND, and Christopher W. Conner and
Te|ford E. Forgety, Jr. to compensate all parties in a sum not less than three

Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 10 of 11 PagelD #: <pagelD>
Page 10 ofll

times the collective sums of property and losses to businesses of all who are
similarly situated
TRlAL BY JURY DElVlANDED

Prepared and submitted by:
/>lS/;MMA a
AA /
w Jimmie lj. oss

Pamela A. Ro?b

Case 3:05-cv-00075 Document 1 Filed 02/04/05 Page 11 of 11 PagelD #: <pagelD>
Page 11 ofll

